On May 28, 1997, appellant, Harold L. Lett, Jr., pleaded guilty to five counts of corruption of a minor, felonies of the fourth degree, in violation of R.C. 2907.04. In a judgment entry filed on July 16, 1997, the Lake County Court of Common Pleas sentenced appellant to a stated prison term of eighteen months on each count, with counts one and five to be served consecutively to counts two, three and four. Furthermore, the court found appellant to be a sexual predator pursuant to recently amended R.C. Chapter 2950, Ohio's version of Megan's Law. Appellant timely appealed, asserting that R.C. Chapter 2950 is unconstitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is reversed, and the case is hereby remanded for further proceedings consistent with this opinion.
                                ______________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.